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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
                      NEW ORLEANS DIVISION

IN RE: FEMA TRAILER.                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                SECTION "N-4"
                                            JUDGE ENGELHARDT
                                            MAG. JUDGE ROBY




        DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
    IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
   CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                           U.S. EXHIBIT NO. 2
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                  THE RITA REPORT:
  A summary of the social and economic impact and
   recovery of Southwest Louisiana one year after
                  Hurricane Rita




 Commissioned by the                                  Research conducted by
 Louisiana Recovery Authority                        Michael M. Kurth, PhD
                                                   Dr. Daryl V. Burckel,CPA


                           www.lra.louisiana.~ov



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                    A-I~, E-T-T-E-R-FR O M-THE-GOVE~RN OR

 Dear Friends:

 One year ago, Hurricanes Katrina and Rita came ashore wreaking unprecedented havoc
 upon our great state and forever leaving their mark in our history. While these storms
 were similar in their fury, creating the first and third most expensive disasters in our
 history, the nature of their destruction was very different.

 In the wake of Rita’s wrath, I surveyed the damage across Southwest Louisiana and made
 a commitment to rebuild a safer, stronger, smarter Louisiana. We have made tremendous
 progress over the last year, with support from President Bush, Chairman Don Powell,
 Congress, the Louisiana Recovery Authority (LRA) and other local, state and federal
 partners.

 Road Home Housing Assistance Centers have opened across the state to help residents
 get back into their homes as quickly as possible. Dozens of schools are re-opening.
 Hundreds of businesses are recovering and thousands of lost jobs are being restored.

 While these gains are noteworthy, there remains much more to be done.

 The Rita Report, commissioned by the LRA, summarizes the social and economic impact
 of the storm and reports on the progress being made toward recovery in the most severely
 impacted parishes of Cameron, Vermilion and Calcasieu. This information will help us
 better understand the unique needs and challenges of communities across the southwest
 as we continue writing this new chapter in our recovery.
 working together, we will realize our vision of a safer, stronger and smarter Louisiana.

 Sincerely,




 Kathleen Babineaux Blanco
 Governor




                                                                               LARR-00002
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                          EXECUTIVE SUMMARY


    When Hurricane Rita made landfall along the Texas/Louisiana border on September
 24, 2005, it was a category 3 hurricane with winds in excess of 120 miles per hour
 pushing a 20 foot storm surge. The devastation it left behind made it the third most
 expensive natural disaster in US history. This report examines the different types of
 damage wrought by Hurricane Rita in Louisiana and assesses the status of the recovery
 effort, with special focus on Cameron, Vermilion and Calcasieu Parishes, the three
 parishes affected most by the storm. The report also details the achievements of the
 Louisiana Recovery Authority, and discusses the challenges facing Southwest Louisiana
 and the LRA as they work towards building "safer, stronger, smarter" communities for
 future generations.




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...................                                     INTRODUCTION

                          The Louisiana Recovery Authority (hereafter referred to as the LRA) was created by
                       Governor Blanco following Hurricanes Katrina and Rita for the purpose of coordinating
                       the recovery efforts of various public entities, encouraging long-term planning, and
                       helping to secure the resources and funding needed for the recovery. This study was
                       prepared for the LRA to comply with Act 686 of the 2006 Louisiana Legislature. Its
                       purpose is to summarize the social and economic damage caused by Hurricane Rita,
                       provide an in-depth assessment of the nature and extent of damage in the parishes most
                       heavily impacted by Hurricane Rita, report on the progress being made towards recovery
                       in those parishes, and identify key challenges that lie ahead.

                          Section I provides an overview of Hurricane Rita and the different types of damage
                       caused by the storm in Southwest Louisiana and Southeast Texas. Section II examines
                       the devastation along the coast in Cameron Parish and the marshlands to the north, and
                       discusses the progress towards recovery. Section III examines the damage caused to
                       agriculture and wildlife in the lowlands of Vermilion Parish and discusses the progress
                       towards recovery. Section IV examines the damage in Calcasieu Parish, especially in the
                       metropolitan area around Lake Charles, and discusses the progress in Calcasieu Parish.
                       Section V provides a summary and conclusions from the report.

                          The authors of this study are Dr. Michael M. Kurth and Dr. Daryl V. Burckel. Dr.
                       Kurth is Head of the Department of Accounting, Finance and Economics at McNeese
                       State University and Dr. Burckel in a professor of accounting at McNeese. In preparing
                       this study they consulted with numerous public officials, including Mayor Randy Roach
                       of Lake Charles, Calcasieu Parish Administrator Mark McMurry, Cameron Parish
                       Planning and Development Executive Director Ernie Broussard, Robert LeBlanc of the
                       Office of Emergency Preparedness in Vermilion Parish, David Richard with Stream
                       Management, and LRA staff. The accuracy of the data and the conclusions contained in
                       this study are the sole responsibility of Dr. Kurth and Dr. Burckel.




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.................                       L AN-OVE-RVtE-W-OF-HURRIC-ANE-R~T-A


                     A. Prelude

                        The story o~ Hurricane Rita really begins three weeks earlier with the destruction of
                     New Orleans by Hurricane Katrina. Over a million people fled the New Orleans area as
                     Katrina approached and approximately 20,000 found shelter in Southwest Louisiana with
                     family and friends, in hotels and motels, and at state parks, churches, public shelters such
                     as the Lake Charles Civic Center. Most expected to return to their homes in a day or two,
                     but when the levees broke and New Orleans flooded, they were stranded with little more
                     than the clothes on their backs and nowhere to go.


                        As state and federal officials struggled to cope with the unfolding disaster in New
                     Orleans, the people of Southwest Louisiana embraced the Katrina victims, donating food
                     and supplies, offering them jobs, and enrolling their children in local schools. Thus, as
                     Hurricane Rita approached, the resources of Southwest Louisiana were already stretched
                     thin, especially among the volunteer, non-profit and faith-based organizations that were
                     engaged in helping the victims of Katrina. Thousands of Katrina evacuees had to be
                     loaded on buses and re-evacuated to safety further north in order to comply with a
                     mandatory evacuation of Southwest Louisiana as relief agencies turned around and
                     prepared to deal with victims of a new disaster. Despite these challenges, state and local
                     leaders worked with relief agencies and non-profit organizations to stage a successful
                     evacuation of the Southwest region.



                     B. The Damage

                        Hurricane Rita grew to a category five storm with sustained winds of over 150 miles
                     per hour as it swept across the western Gulf of Mexico.1 Oil platforms and drilling rigs in
                     its path were shut down and their workers evacuated, halting 98% of oil and natural gas
                     production in the gulf. Despite these precautions, many platforms were damaged or

                     1 At the time, Hurricane Rita was the most powerful storm ever observed in the Gulf of Mexico and the
                     Atlantic Basin, but on October 19, 2005 it lost this distinction to Hurricane Wilma, which bumped Rita to
                     second place and Hurricane Katrina to fourth place among the all-time most powerful storms.



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..............    destroyed~-although there was -no-loss-of-li-fe=-Table-lv-compares-the-damage-to-the
                  offshore oil industry from hurricanes Rita, Katrina and Ivan.

                                                                     Table 1

                                                Damage to Gulf of Mexico Oil & Gas
                                              Infrastructure: Rita vs. Katrina vs. Ivan
                                                                           Rita              Katrina            Ivan

                                    Platforms
                                     Destroyed                             66                 47                 7
                                     Extensively Damaged                   37                 20                 20

                                      Ad rift                                 13               6                 5
                                      Destroyed                               4                4                 1
                                      Extensively Damaged                     10               9                 4
                                    Pipelines
                                      Damaged                                 28              30                 102
                                    Shut-in Production
                                     Gas (BCF)                             8,622                9,418            6,515
                                     Oil (bbls)                        1,564,679            1,557,981        1,410,002

                                 Source: Office of Electricity Delivery and Energy Reliability (OE), U.S. Department
                                 of Energy, Gulf Coast Hurricanes Situation Report #16, October 14, 2005

                   By June, 2006 many of the rigs and platforms were back in operation and the shut-in oil
                  production was reduced to 179,970 barrels of oil per day, which is equivalent to 12% of
                  the normal daily production of the gulf. The shut-in natural gas production was reduced
                  to 935 million cubic feet per day .which is equivalent to 10% of the normal gas production
                  in the gulf (see table 2).


                                                                     Table 2

                                     Hurricane Katrina/Hurricane Rita Evacuation and
                                  Production Shut-in Statistics Report as of June 19, 2006

                                                      Lake      Lake                        New
                     Districts                       Jackson ~ Charles ¯ Lafayette,_ Houma ~ Orleans ~                      Total

                     Platforms Evacuated                0             21            18              2           27               68
                     Rigs Evacuated                     0              0             0              0            0                0
                     Oil, BOPD Shut-in                  0            12,663        23,544       31,558       112,205       179,970
                     Gas, MMCF/D Shut-In                2.8          278.74        262.82       140.65        250.67        935.67

                      *These statisticsreflect evacuationsand shut-in production from Hurricanes Katrina and Rita (remaining)*
                    Source: U.S. Department of the Interior, Minerals Management Service, http://www.mms.qov/




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   When Rita made landfall it was still a category 3 storm on the Saffir-Simpson scale
  with sustained winds over 120 miles per hour, but it was pushing a category 5 storm
  surge 15 to 20 feet high. The destruction that ensued was enormous and the cost of
  repairing the damage will likely exceed $10 billion, making Hurricane Rita the third most
  expensive natural disaster in United States history.

    Much of the area hit by Hurricane Rita is sparsely populated, though rich in natural
  resources and industrial infrastructure. The coastal region is dotted by small
  communities built around fishing, shrimping, and offshore oil services. Low-lying
  marshes and agricultural land where farmers grow rice and sugar cane and ranchers raise
  horses and cattle extend 30 to 40 miles inland. The region to the north is heavily forested
  and supports a substantial timber industry. Approximately half of the people in the
  region live around Lake Charles where there is a major industrial complex consisting of
  two large oil refineries and 22 petrochemical plants plus a deep-water port that can
  accommodate ocean-going vessels. The City of Lake Charles is the cultural and
  administrative center of the region and the site of McNeese State University, Sowela
  Teclmical and Community College, three hospitals, a civic center complex, shopping
  malls and recreational facilities. There are also five major casinos in the region that draw
  heavy patronage from southeast Texas.




                                   Hurricane Rita Storm Sur e




            Source: Analysis of Hurricane Rita storm surge; Lake Charles WFO:
             www.weather.qovlomldatalpdfslRita.pdf


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............... Map I shows-the areas affected by Rita’s storm- surge,- The town of Cameron-took. a
                 direct hit and was essentially obliterated, while coastal communities from Port Arthur,
                Texas all the way to Terrebonne Parish were heavily damaged by high winds and
                 flooding. Approximately two thousand square miles of farmland and marshes was
                 inundated with sea water; killing livestock, ruining crops, and doing indeterminate
                 damage to the soil and the environment. The flooding extended all the way north to Lake
                 Charles, where the downtown and residential areas around the lake were covered with
                three .to six feet of sea water.

                   Areas further inland were spared flooding, but suffered extensive wind damage,
                 especially in the Northwest quadrant of the storm where numerous tornadoes were
                 spawned. The towns of Vinton, Starks, Merryville, DeQuincy, Sulphur, Westlake, Moss
                 Bluff, and Iowa suffered extensive damage from trees falling on homes and vehicles, as
                 well as wind damage to building and roofs. The terminal at the Lake Charles Airport was
                 destroyed by a tornado; McNeese State University suffered heavy damage to its facilities
                 from both wind and flooding as.did Sowela Tech. Harrah’s riverboat casino complex on
                 the lakefront was completely destroyed and the nearby civic center was heavily damaged.
                 Map 2 shows the intensity of the winds in this region.


                                                               MAP 2
                                      Maximum Wind                       of Hurricane Rita




                        Source: Analysis of peak wind gusts; Lake Charles WFO. www.weather.gov/olrddata/pdfsiRita.pdf



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.................. As-R-ita-moved-intand-its-winds-grew-less-intense~-but- even-eommunities-as-far-away-
                  as DeRidder, Leesville, Kinder, Eunice, and Jennings suffered substantial damage such as
                  downed utility poles, trees and limbs down on houses, and shingles blown off roofs.
                  Hurricane Rita impacted 85,729 square miles in Texas and Louisiana; the area in orange
                  on the map below indicates parishes that were approved by FEMA for both individual
                  and public disaster assistance.




                                                             it/lap 3

                    FEMA Approved Parishes for Individual and Public Disaster Assistance




                   FEMA web site: http:llwww.fema.qov/newslevent.fema?id=5025




                        Due to the aggressive leadership of state and local leaders during the evacuation
                  and emergency response phases of this disaster, only one death was linked to Hurricane
                  Rita in Louisianm Most residents headed the warnings of local officials and took Rita’s
                  approach very seriously, especially after seeing the destruction wrought by Hurricane
                  Katrina just three weeks earlier. Most people evacuated, creating massive traffic jams



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.............. -from-Houston-to Baton-Rouge-and-notCh-to the-At- kansas-border=--T-he-evacuation-was
                 complicated by predictions that Hurricane Rita would make landfall further west,
                 triggering a mass exodus from the Houston area. At the same time, any roads and
                - highways to the east were cldged due to damage from Hurricane Katrina, which funneled
                 much of the evacuation traffic north on two-lane secondary roads.

                    In the aftermath of the storm approximately 650,000 homes in Louisiana were without
                 electricity and half-a-million people had no drinking water, preventing many from.
                 returning to their homes for three weeks or longer. The homes and buildings left vacant
                 in the heat and humidity often developed black mold and other environmental and health
                 hazards. FEMA has issued more than $403 million in housing assistance to renters and
                 homeowners whose primary residents were damaged or destroyed. Table 3. below shows
                 the extent of damage to homes in Southeast Texas and Southwest Louisiana and FEMA’s
                 assistance.




                                        Housing Damage from Hurricane Rita in
                                       Southwest Louisiana and Southeast Texas

                                                                               Southwest      Southeast
                                                                               Louisiana        Texas

                               Severly Damaged/Destroyed Housing Units            11,533         12,103
                               FEMA Trailers Used as Temporary Housing            13,197          4,025
                               FEMA "Blue Roofs"                                  18,115         21,000
                               Federal Unemployment Assistance (millions)           $8.3           $4.6
                               Federal Disaster Assistance                         $89.3          $82.1

                          Source: Office of Gulf Coast Rebuilding




                    Hurricane Rita also caused extensive damage to Southwest Louisiana’s agriculture,
                 forestry, and fishing industries. Table 4 shows an estimate of the cost of this damage
                 prepared by the Louisiana State University Agricultural Center.2 The area also contains

                 2 Assessment of Damage to Louisiana Agricultural, Forestry, and Fisheries Sectors By Hurricane Rita,
                 LSU AgCenter, October 5, 2005



                                                                    11
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............. a- number of-significant nature preserves-and- wildlife- refuges, inoluding-the-Sabine
                 National Wildlife Refuge, the Cajun Nature Trail, and the Rockefeller Wildlife Refuge
                 and Game Preserve. The damage to these environmentally sensitive areas was massive
                 and it may take y~ars before it is fully revealed.
                                                           Table 4
                                  Estimated Damage Caused by Hurricane Rita
                                to Louisiana’s Agriculture, Forestry, and Fishing


                                Commodity                       Estimated Value of Damage
                                  Forestry                             $227,966,661
                                  Crops                                $201,836,360
                                  Fruits, Nuts, etc                      $9,581,627
                                  Livestock & Forrage                   $51,738,698
                                  Aquaculture                           $49,178,024
                                  Fisheries                             $34,090,892
                                  Wildlife and Recreation               $18,582,570
                                  Total                                $592,974,832
                              Source: LSU Agricultural Center


                   More than 200,000 acres of fresh water and intermediate marshland was inundated
                 with saltwater, elevating salinity levels in the estuarine system to levels that threaten
                 native species and the food supply for migratory birds. The impact this had on the
                 already-threatened coast and environmentally sensitive marshlands are truly catastrophic.
                 As .explained by Mr. David Richard of Stream Property Management in testimony before
                 Congress:


                          "In this low, flat wetland the damage that was inflicted was beyond
                      comprehension to the coastal communities involved of Cameron, Grand
                      Chenier, Creole, Holly Beach, Pecan Island and Vermilion Parish and the
                      entire coast of Louisiana that was affected by excessive storm surge. The
                      damage inflicted upon National Wildlife Refuges in the area was serious and
                      catastrophic to the infrastructure. This infrastructure includes levees, water
                      control structures, headquarters facilities, visitor centers and public use
                      trails and supporting facilities. "

                   Mr. Richard went on to explain that it could cost between 50 and 100 million
                 dollars to repair this damage, and that these refuges are important for the education
                 and economy of Southwest Louisiana as they attract one-half million visitors per

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................. -year- to team about -and-enj oy-the-eeotogy-and-natural -resources-of-this-productive      --
                   area.


                   C. The Response
                      The recovery process can be divided into three phases, what might be termed the
                   "three Rs." (1) ~ when the goal is to make the area inhabitable again, which
                   generally takes about one month depending on the severity of the damage. (2)
                  Restoration, when the goal is to resume normal activities, such as returning to work and
                   children going to school. This generally is accomplished within the first six months. (3)
                  Redevelopment, when the focus shifts to undertaking major repairs and taking measures
                  to prevent such damage in the future. Full recovery is achieved when a stronger, better
                   community has been built for future generations. Each area in Southwest Louisiana is at
                   a somewhat different phase in this process depending on the nature and severity of the
                   damage it incurred.




                      The response of residents of Sonthwest Louisiana to Hurricane Rita was immediate
                   and heroic. All emergency responders--police, sheriff’s deputies, firefighters, and
                   medical personnel--remained on the job, and most public officials stayed in the parish to
                   identify needs and coordinate relief efforts. Residents who remained behind began
                   immediately removing trees from roads and homes and there were few incidents of
                   looting or lawlessness. Although there was no electricity or running water, and gasoline
                  to run generators was hard to find, within 48 hours FEMA and the Louisiana National
                   Guard were distributing food, water and ice. Calcasieu and Cameron Parishes were
                   closed, preventing residents from returning, while FEMA and the Red Cross began
                   distributing emergency payments to evacuees at centers throughout Texas, Louisiana,
                   Oklahoma, Arkansas, and Mississippi to assist with their lodging and food expenses.


                     Entergy and Beauregard Electric Cooperative brought in over 20,000 electrical
                  workers to restore power and trucks began circulating throughout the area gathering and
                   removing debris. It was an enormous job made even more difficult by the lack of basic
                   services. The main complaint of residents during this time was confusing and conflicting


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............ instruction-from-FEMA-and other-government-agenGies~--Atsov-many-people-did-not- .............
                know what was covered by their insurance policies, what aid was available to them, or
                where to go to get it and what documents they would need to establish eligibility. In the
                confusion, there were many instances of fraud and abuse. Table 5 shows the amount of
                aid distributed by FEMA to Rita victims in Louisiana.

                   Within three to four weeks most of Southwest Louisiana was inhabitable again, the
                exception being southern Cameron Parish where the damage was catastrophic. FEMA
                and the Corps of Engineers provided nearly 40,000 "blue roofs" in Southwest Louisiana
                and Texas to prevent further damage to homes, and grocery stores and service stations
                slowly began to re-open on a limited basis.



                                                                   Table 5


                                                                 Individual . Expedited      Housing     Other Needs
                          Parish                   Population    Assistance    Assistance   Assistance   Assistance

                          Calcasieu                    185,419
                            Amount (millions)                      $229.9        $161.8       $200.6        $28.3
                            Amount Per Capita                      $1,240         $873        $1,082        $153
                          Cameron                       9,558
                            Amount (millions)                       $37.0         $7.9         $22.5        $14.5
                            Amount Per Capita                      $3,871         $827        $2,354       $1,517
                          Beauregard                  34,562
                            Amount (millions)                      $21.9          $13.1        $18.1        $3.8
                            Amount Per Capita                      $634           $379         $524         $110
                          Vermillion                   55,195
                            Amount (millions)                      $41.4          $14.8        $28.7        $12.7
                            Amount Per Capita                      $750           $268         $520         $230
                          Jefferson Davis               31,272
                            Amount (millions)                      $19.5          $13.7        $16.6         $2.9
                            Amount Per Capita                      $624           $438         $531          $93
                          Vernon                       48,745
                            Amount (millions)                      $12.2          $7.2         $9.7          $2.6
                            Amount Per Capita                      $250           $148         $199          $53
                          Sabine                       23,786
                            Amount (millions)                       $2.7          $1.2         $2.1          $0.6
                            Amount Per Capita                       $114          $50          $88           $25
                          Total Assistance (millions)              $364.6        $219.7       $298.3        $65.4




                   Charitable and non profit organizations played a major role in the relief effort and in
                the rebuilding that lay ahead. The American Red Cross served nearly 500,000 meals and
                660,000 snacks to evacuees and the homeless; the Salvation Army served 223,000 hot
                meals and 131,000 snacks, bought 60,000 appliances and pieces of furniture, and


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................ distributed48~000-food boxes~-4~00-personal comfort-items~-~8~447-Wal-Mart-gift-eards~- ..........
                 4,835 Kroger gift cards, 1,267 phone cards; and the Volunteers of America provided
                 mental health assistance to 4,888 individuals through the Louisiana Spirit Programl Area
                 churches, the synagogue and the mosque also fed and sheltered victims and volunteers
                 from Habitat for Humanity have been helping to rebuild homes in the area..The united
                 Way of Southwest Louisiana raised over $3 million for hurricane relief; how these funds
                 were spent is detailed in table 6


                                                            Table 6
                                        Hurricane Related Expenditures by
                                      The United Way of Southwest Louisiana

                                                     Item                       Spending


                                 Food, Clothing, Immediate Relief         $.        186,806
                                 Counseling                               $         116,121
                                 Emergency Shelter                        $           6,226
                                 Medical Care, Prescriptions              $          39,502
                                 Transportation                           $           4,100
                                 Assessment & Case management:            $          68,180
                                 Furniture, Appliances                    $          77,885
                                 Reburials                                $          10,850
                                 Legal Services                           $          30,000
                                 Child Care                               $          30,000
                                 Housing                                  $         312,074
                                 Assistance to providers                  $         176,966
                                 Strengthening the Social Service Network $         121,604

                                Source: The United Way of Southwest Louisiana

                  The US Department of Agriculture also played a major role in responding the needs of
                 residents and agricultural producers in Southwest Louisiana through its Rural
                 Development Office and Farm Service Agency, providing food stamp benefits for
                 residents, emergency assistance to agricultural producers and housing for evacuees in
                 rural communities.


                  More than $500 million in federal appropriations have been made available to
                 agricultural producers in hurricane impacted areas for crop disaster, livestock, tree and
                 aquaculture assistance. This includes $40 million that was obligated for sugarcane
                 producers in Louisiana.



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